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                          UNITED STATES DISTRICT COURT
   9
                         CENTRAL DISTRICT OF CALIFORNIA
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  11   TERRY CLARK, individually and       No. 2:21-CV-04460-JAK-KS
       on behalf of all others similarly
  12   situated,
  13                     Plaintiffs,       ORDER RE JOINT STIPULATION TO
                                           REMAND MATTER TO STATE
  14         v.                            COURT (DKT. 31)
  15   INDUSTRIAL APPLE, INC., a
       California corporation dba APPLE     JS-6
  16   ONE STAFFING; ECMD, INC., a
       California corporation; and DOES
  17   1 through 10, inclusive,
  18                     Defendants.
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   1         Based on a review of the Joint Stipulation to Remand Matter to State Court
   2   (the “Stipulation” (Dkt. 31)), sufficient good cause has been shown for the requested
   3   relief. Therefore, the Stipulation is APPROVED. The above-captioned civil action
   4   is remanded to the Los Angeles County Superior Court.
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   6   IT IS SO ORDERED.
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   8          September 29, 2021
       Dated: ______________
                                             John A. Kronstadt
   9                                         United States District Judge
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